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 7

 8
                              UNITED STATES DISTRICT COURT
 9
              CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
10

11
     RHONDA KATRENICH, an individual,               Case Number:
12
                 Plaintiff,                         COMPLAINT FOR DAMAGES
13

14   vs.                                            1. Interference With Family Medical
15
                                                    Leave Act (FMLA)
     SYSCO CORPORATION, a Delaware                  2. Discrimination (FMLA)
16   Corporation; SYSCO RIVERSIDE, INC.,            3. Failure To Prevent Discrimination For
17   a Delaware Corporation; PAUL KEYS, an          Utilizing FMLA
     individual; ROBERT RODRIGUEZ, an               4. Failure to Engage In The Interactive
18
     individual; and DOES 1 through 50,             Process
19   inclusive,                                     5. Violation Of The California Family
20
                                                    Rights Act (CFRA)
                 Defendants.                        6. Sex Discrimination In Violation Of Fair
21                                                  Employment And Housing Act (FEHA)
22                                                  7. Age Discrimination In Violation Of
                                                    FEHA
23
                                                    8. Wrongful Constructive Termination In
24                                                  Violation Of Public Policy
                                                    9. Violation Of Government Code §
25
                                                    12940(i)
26                                                  10. Negligent Infliction Of Emotional
27                                                  Distress
                                                    11. Intentional Infliction Of Emotional
28
                                                    Distress
                                                    12. Failure To Pay Overtime Wages

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 1
                                                       13. Violation Of California Labor Law
 2                                                     §201 And 202 – Failure To Pay Final
                                                       Wages
 3
                                                       14. Failure To Provide Meal Periods
 4                                                     15. Failure To Provide Rest Periods
 5
                                                       16. Failure To Provide Properly Itemized
                                                       Wage Statements In Violation Of The
 6
                                                       California Labor Code
 7                                                     17. Failure To Pay Wages When Due In
                                                       Violation Of The California Labor Code
 8
                                                       18. Unlawful And Unfair Business Acts
 9                                                     And Practices In Violation Of California
10
                                                       Business & Professions Code §17200 et
                                                       seq.
11                                                     19. Failure To Provide Documentation In
12                                                     Violation Of Labor Code §226
13

14
        Plaintiff, RHONDA KATRENICH (“KATRENICH”), alleges as her Complaint
15
     herein as follows:
16
                                                  I.
17
                                   GENERAL ALLEGATIONS
18
           1.     Pursuant to 28 U.S.C. Section 1332, this Court has diversity jurisdiction
19
     over this action because the amount in controversy herein, exclusive of costs and
20
     interests, exceeds the sum of $75,000.00, defendant SYSCO CORPORATION is a
21
     corporation organized and existing under the laws of the State of Delaware and was at all
22
     relevant times the employer of Plaintiff, KATRENICH. SYSCO RIVERSIDE, INC. is a
23
     corporation organized and existing under the laws of the State of Delaware, and is a
24
     subsidiary of SYSCO CORPORATION. SYSCO CORPORATION, the parent
25
     company, dominated, controlled and directed the business affairs of SYSCO
26
     RIVERSIDE, INC. in such a manner as to make it inequitable to recognize SYSCO
27
     RIVERSIDE, INC. as a corporate entity separate and apart from SYSCO
28
     CORPORATION and, to do so, would be to perpetuate a fraud and injustice. For


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 1
     purposes of the allegations set forth in this Complaint, SYSCO CORPORATION and
 2
     SYSCO RIVERSIDE, INC. will be collectively referred to as SYSCO. The business of
 3
     SYSCO is the sale and distribution of food, food products, and related items principally
 4
     to commercial businesses. At all times herein mentioned SYSCO had a principal office
 5
     located in the County of Riverside, State of California, and it was this division of SYSCO
 6
     for whom KATRENICH worked as a Marketing Associate. Pursuant to 29 U.S.C.
 7
     Section 2601 et seq., this Court also has jurisdiction over this action because the cause of
 8
     action for violations of the Family and Medical Leave Act of 1993 (“FMLA”) involves a
 9
     federal question.
10
           2.      This Court has supplemental jurisdiction over the related state law claims
11
     pursuant to 28 U.S.C. Section 1367(a). KATRENICH’s claims pursuant to the California
12
     Family Rights Act (“CFRA”), California Government Code Section 12945.2 et seq., for
13
     failure to prevent discrimination in violation of Gov. Code Section 12940(k), and for
14
     wrongful termination in violation of public policy, are related, as all of KATRENICH’s
15
     claims share common operative facts. Resolving all state and federal claims in a single
16
     action serves the interests of judicial economy, convenience, and fairness to the parties.
17
           3.      KATRENICH was an eligible employee within the meaning of the FMLA
18
     and CFRA because SYSCO had employed KATRENICH for at least 12 months by the
19
     time her need for family leave occurred, and KATRENICH had worked more than 1,250
20
     hours during the 12-month period prior to her request for leave.
21
           4.      SYSCO is a covered employer under FMLA and CFRA because it employs
22
     50 or more employees within a 75-mile radius of KATRENICH’s worksite.
23
           5.      Plaintiff is informed and believes and thereon alleges defendant PAUL
24
     KEYS (hereinafter “KEYS”) is an individual residing in the State of California.
25
           6.      Plaintiff is informed and believes and thereon alleges defendant ROBERT
26
     RODRIGUEZ (hereinafter “RODRIGUEZ”) is an individual residing in the State of
27
     California.
28
     ///


     _____________________________________________________________________________________________
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 1
           7.     Defendants, DOES 1 through 50, inclusive, at all relevant times mentioned
 2
     herein were individuals residing in the State of California, and were employees,
 3
     supervisors, and managing agents of defendant SYSCO. KATERNICH is unaware of the
 4
     true names of these defendants, and therefore sues them by such fictitious names.
 5
     KATRENICH will amend this complaint to allege their true names and capacities when
 6
     ascertained. KATRENICH is informed and believes and thereon alleges that each of
 7
     these fictitiously named defendants is responsible in some manner for the occurrences
 8
     alleged herein, and that KATRENICH’s injuries as alleged herein were caused by the
 9
     aforementioned defendants.
10
           8.     KATRENICH is informed and believes and thereon alleges that each of the
11
     defendants named herein was, at all times relevant to this action, the agent, employee,
12
     representative, partner, or joint venturer of the remaining defendants and/or was an aider
13
     and abettor and/or a co-conspirator with the other defendants in the acts hereinafter
14
     alleged. KATRENICH is informed and believes and thereon alleges, that each of the
15
     defendants herein gave consent to, ratified, and authorized the acts alleged herein to each
16
     of the remaining defendants.
17
           9.     The named defendants along with DOES 1 through 50 shall be collectively
18
     referred to herein as “DEFENDANTS.”
19
           10.    The unlawful employment practices complained of herein occurred in
20
     Riverside County, State of California, and within the judicial district of this Court.
21
           11.    KATRENICH was employed by defendant SYSCO, pursuant to an oral
22
     contract of employment, commencing in approximately 1998. KATRENICH was
23
     employed initially as a marketing associate, and advanced during her career to the
24
     position of senior marketing associate. Prior to June of 2014, KATRENICH’s
25
     compensation was based upon a salary plus commissions. This compensation was
26
     calculated using a complex formula by which she received payment based, in part, on
27
     orders placed on accounts she had previously generated, together with new accounts.
28
     KATRENICH’s job duties included providing service to customers in the taking of orders


     _____________________________________________________________________________________________
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                                       COMPLAINT FOR DAMAGES
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 1
     of SYSCO’s products, interfacing with the distribution division of SYSCO to place
 2
     orders and assure prompt delivery of SYSCO’s products, and to interface with and
 3
     develop relationships with customers, both existing and new. During the term of
 4
     KATRENICH’s employment by SYSCO prior to June of 2014 she was a highly regarded
 5
     senior marketing associate having garnered numerous commendations, awards, and
 6
     bonuses. KATRENICH had been named a member of SYSCO’s Diamond and
 7
     President’s Clubs, and received as rewards for her work various vacation trips and awards
 8
     of property including a Rolex watch and rings, etc.
 9
           12.    In or about August, 2011, KATRENICH’s mother-in-law passed away, a
10
     person with whom she was close. In January of 2012, her father-in-law passed away.
11
     KATRENCH’s mother had an extended last illness, and passed away on or about April
12
     27, 2013. Notwithstanding these personal tragedies and losses, KATRENICH took scant
13
     time off of work to deal with these important family issues.
14
           13.    In October of 2013 KATRENICH’s supervisor, KEYS, put her in a “Center
15
     of the Plate” (“COP”) class that required her to travel to and from various locales within
16
     Southern California each day for a period of approximately eleven (11) weeks, during
17
     which a good deal of the time was spent by the class in refrigerated meat packing
18
     companies and freezers. During this time KATRENICH was also required to attend to
19
     many of her normal job duties in providing service to her customers. As a consequence
20
     of her exposure to the cold in the meat packing plants and freezers, KATRENICH
21
     developed bronchitis which later turned into pneumonia. Although KATRENICH
22
     informed KEYS of her illness and requested an accommodation, he required that she
23
     continue performing all of her job duties without accommodation, including completing
24
     attendance of the COP class. KATRENICH also had a breast cancer concern during this
25
     time. While she was at the Breast Cancer Institute for treatment, KEYS repeatedly called
26
     KATRENICH about an account even though KEYS knew that KATRENICH was at the
27
     Institute for a procedure. During the eleven (11) week period that KATRENICH was
28
     attending the COP class, KATRENICH was also assured by SYSCO’s representatives,


     _____________________________________________________________________________________________
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 1
     KEYS in particular, that her accounts and territory would be serviced by others in her
 2
     absence, and would remain for her on her return to her regular schedule.
 3
           14.    As a consequence of her illness and the stress placed on her and her family
 4
     associated with the loss of close family members and her job responsibilities with
 5
     SYSCO, in January 2014 KATRENICH approached the human resources division of
 6
     SYSCO to explain the stress, strain, depression, and her debilitated physical condition.
 7
     The human resources division told KATRENICH that she was a valued SYSCO
 8
     employee, and that she should attend to her health and family issues. The human
 9
     resources division recommended that KATRENICH take family leave in order to do so,
10
     and she was told by SYSCO’s representatives that the customer accounts she had
11
     developed over the years would be hers on her return to work. From January 7, 2014
12
     through June 27, 2014, KATRENICH took such family leave as recommended by
13
     SYSCO’s human resources division. During that family leave period, KATRENICH’s
14
     doctor periodically provided SYSCO with updates as to KATRENICH’s medical status,
15
     and SYSCO’s human resources division would occasionally call or text her directly to
16
     ascertain how she was doing. At no time during this family leave period was
17
     KATRENICH advised by any SYSCO representative that the taking of the recommended
18
     family leave would on her return cause a demotion or a reduction in salary/commissions
19
     or otherwise jeopardize her work situation with SYSCO.
20
           15.    On June 30, 2014, KATRENICH returned to work and was told that she
21
     would initially have a meeting with KEYS, her former direct supervisor who had by then
22
     been promoted to regional sales manager along with RODRIGUEZ, who would be her
23
     direct supervisor. When the meeting began, KEYS said to KATRENICH: “I can’t
24
     believe you had the balls to walk back into this office,” and stated that he had not
25
     envisioned that she would be returning to work with SYSCO. KEYS specifically noted
26
     the time KATRENICH had taken off of work to deal with family crises, including time
27
     covered by the CFRA and FMLA. KATRENICH was then told by KEYS and
28
     RODRIGUEZ that her return to work following FMLA leave was subject to the


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                                       COMPLAINT FOR DAMAGES
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 1
     following: 1) all of her old accounts were to be serviced by other marketing associates;
 2
     2) she was prohibited from having any contact, employment or social, with any of her
 3
     prior customers; 3) she would be demoted to that of a marketing associate rather than a
 4
     senior marketing associate; 4) that she would have a new compensation arrangement
 5
     based on salary and commissions from new accounts generated by her, not on any sales
 6
     through her prior accounts. Many of KATRENICH’s customers had become friends, and
 7
     she and her family often ate dinner at business establishments owned by these customers
 8
     and would see some of them at civic and social organizations within their community in
 9
     Riverside County, California. Further, the new compensation arrangement resulted in
10
     drastic reduction in KATRENICH’s pay. She was previously earning in excess of
11
     $100,000.00 per year, much of which was based on the existence of accounts she had
12
     developed over her 17 years with SYSCO. Her new compensation arrangement was
13
     primarily to be based on new accounts generated only, i.e. a reduction down to the range
14
     of $60,000.00 per year.
15
           16.    On August 25, 2014, KATRENICH won a competitive company award,
16
     demonstrating her diligence with her work.
17
           17.    However, following her return to work and the demotion and reduction in
18
     pay that occurred, SYSCO engaged in a systemic pattern to make her work environment
19
     unbearable including, without limitation, the following:
20
                  A. KATRENICH would place orders for customers, but the orders were not
21
     being filled by the company, deliveries were late, or there were orders that were not
22
     delivered, placing her in the untenable position of having to explain to customers why
23
     their orders were not being timely delivered. Further, the failure to timely provide such
24
     orders resulted in a loss of income to KATRENICH under her then compensation plan.
25
     In addition, KATRENICH was required to spend an inordinate amount of time checking
26
     and double checking to be certain that orders she had placed were being shipped by the
27
     company to her customers.
28
     ///


     _____________________________________________________________________________________________
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                                       COMPLAINT FOR DAMAGES
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 1
                  B. KATRENICH was told that as to certain customers no shipment of
 2
     orders would be made until that customer paid their past due invoices. KATRENICH
 3
     later learned that such orders were placed by other company representatives without the
 4
     condition of collection of money from such customers.
 5
                  C. KATRENICH’s supervisor, RODRIGUEZ, without notice to
 6
     KATRENICH, asked certain customers if they wanted to have a new SYSCO marketing
 7
     associate, someone other than KATRENICH.
 8
                  D. KATRENICH would telephone and text her direct supervisor,
 9
     RODRIGUEZ, on matters as to which his input was required, and he would regularly fail
10
     to return her telephone calls or respond to her texts resulting in no input and direction
11
     from her supervisor on the issues involved.
12
                  E. KATRENICH’s supervisor, RODRIGUEZ, would schedule meetings
13
     with her, but then either the meeting was cancelled at the last minute or he would fail to
14
     appear for the meeting.
15
                  F. KATRENICH’s supervisor, RODRIGUEZ, would claim that
16
     KATRENICH did not provide necessary information required by him when, in fact, she
17
     previously had done so.
18
                  G. SYSCO regularly failed to stock food and food product items that
19
     resulted in late deliveries of orders to customers of KATRENICH, and yet its
20
     representatives would lie to KATRENICH’s customers saying those products were in
21
     stock when they were not.
22
                  H. SYSCO changed KATRENICH’s employee number, which caused the
23
     misreporting of courses that she was required to take by the company. KATRENICH
24
     did, in fact, timely take the courses, but the misreporting was relied upon by SYSCO in
25
     making poor performance evaluations of her.
26
                  I. KATRENICH’s direct supervisor, RODRIGUEZ, berated her for being at
27
     home to take care of a sick daughter in November 2014, stating she should “get a
28
     NutriBullet to make juice so that her family wouldn’t be getting sick so much.”


     _____________________________________________________________________________________________
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                                       COMPLAINT FOR DAMAGES
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 1
                  J. KATRENICH’s work performance was being regularly criticized by her
 2
     direct supervisor, RODRIGUEZ, and also the then regional sales manager, KEYS. As an
 3
     example only, KATRENICH was criticized and faulted for SYSCO’s inability to collect
 4
     amounts it claimed were due from a customer who had died. Eventually, KEYS issued a
 5
     “memorandum” to KATRENICH, dated May 8, 2015, continuing the criticism of her
 6
     work performance in which he stated “there will be further disciplinary action taken up to
 7
     and including termination” if there was not significant improvement. However, the
 8
     improvement was principally under the control of SYSCO in the matters hereinabove
 9
     alleged.
10
           18.    KATRENICH complained to others within the SYSCO corporate structure
11
     involving the matters alleged above, including human resources personnel, but no action
12
     was taken to avoid these adverse actions being taken against her and which negatively
13
     affected the terms and conditions of her employment and her ability to properly provide
14
     service to her customers. KATRENICH requested a transfer to another SYSCO district,
15
     but such transfer was refused.
16
           19.    The environment created by SYSCO, as hereinabove alleged, was so
17
     unusually adverse that a reasonable employee in the position of KATRENICH would
18
     have felt compelled to resign his or her position. SYSCO either intended to force the
19
     resignation of KATRENICH, or, at a minimum, had actual knowledge of the intolerable
20
     working conditions imposed upon by it on KATRENICH. There being no alternative,
21
     KATRENICH resigned from her employment with SYSCO in or about July of 2015.
22
           20.    On or about June 29, 2015 KATRENICH exhausted all administrative
23
     remedies that she was required to undertake by filing a complaint with the California
24
     Department of Fair Employment and Housing, which Department then issued a Notice of
25
     Case Closure and Right to Sue. A true and correct copy of that Complaint and the
26
     Department actions are attached hereto as Exhibit “A” and incorporated by reference
27
     herein.
28
     ///


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                                                   9
                                       COMPLAINT FOR DAMAGES
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 1
                                                   II.
 2
                                       CAUSES OF ACTION
 3
                                    FIRST CAUSE OF ACTION
 4
            INTERFERENCE WITH FMLA (29 U.S. CODE, SECTION 2615(a)(1))
 5
                                 (AGAINST ALL DEFENDANTS)
 6
            21.     KATRENICH incorporates by reference paragraphs 1 through 20, as though
 7
      fully set forth herein.
 8
            22.     SYSCO is an “employer” within the meaning of 29 U.S.C. § 2611(4).
 9
            23.     SYSCO employed at least 50 employees for each working day during all
10
      relevant times set forth in the Complaint.
11
            24.     At all times material, KATRENICH was an “eligible employee” within the
12
      meaning of 29 U.S.C. § 2611(2).
13
            25.     At all relevant times, SYSCO employed 50 or more employees within 75
14
      miles of the worksite where KATRENICH performed work for SYSCO.
15
            26.     KATRENICH was employed by SYSCO for at least 1,250 hours of service
16
      during the 12-month period immediately preceding the commencement of the leave.
17
            27.     KATRENICH was employed by SYSCO for more than 12 months prior to
18
      commencing leave.
19
            28.     KATRENICH took medical leave protected by the Family Medical Leave
20
      Act (FMLA).
21
            29.     At all material times, KATRENICH took medical leave to care for a spouse,
22
      child, or parent who had a serious health condition, or because she was unable to work
23
      because of her own serious health condition, as defined by 29 U.S.C. § 2611(11).
24
            30.     SYSCO interfered, discriminated, and retaliated against KATRENICH for
25
      engaging in the protected activity of taking leave under FMLA and reporting FMLA
26
      violations.
27
            31.     SYSCO interfered, discriminated, and retaliated against KATRENICH for
28
      taking medical leave by taking adverse employment actions against KATRENICH,


      _____________________________________________________________________________________________
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 1
      including, but not limited to, requiring KATRENICH to work after she requested
 2
      accommodation and leave and during the time her doctor took her off work due to her
 3
      serious health condition, placing KATRENICH on a corrective action, and constructively
 4
      terminating KATERNICH’s employment.
 5
            32.    As a direct and proximate result of SYSCO’s interference, discrimination,
 6
      and retaliation, KATRENICH has suffered lost income, and will continue to suffer past
 7
      and future wages, past and future benefits, and other expenses, all to KATRENICH’s
 8
      economic damage in an amount to be determined at trial.
 9
            33.    The court should enter an order declaring that SYSCO violated the FMLA.
10
            34.    To the extent any amount awarded to KATRENICH is for damages
11
      occurring prior to the entry of judgment, KATRENICH is entitled to an award of pre-
12
      judgment interest at the legal rate from the date the damage occurred until the date of
13
      judgment.
14
            35.    KATRENICH is entitled to an award of liquidated damages pursuant to 29
15
      U.S.C. § 2617(a)(1)(A).
16
            36.    Pursuant to 29 U.S.C. § 2617(a)(3), KATRENICH is entitled to an award of
17
      attorney’s fees, expert fees, and costs incurred herein.
18
            37.    KATRENICH is entitled to post-judgment interest on all damages, costs,
19
      expenses, and fees from the date of judgment until the date paid.
20
                                   SECOND CAUSE OF ACTION
21
              DISCRIMINATION – FMLA (29 U.S. CODE, SECTION 2615(a)(2))
22
                          (AGAINST ALL CORPORATE DEFENDANTS)
23
            38.    KATRENICH incorporates by reference paragraphs 1 through 37, as though
24
      fully set forth herein.
25
            39.    The FMLA provides that “[i]t shall be unlawful for any employer to
26
      discharge or in any other manner discriminate against any individual for opposing any
27
      practice made unlawful by this subchapter [of the FMLA].” 29 U.S.C. § 2615(a)(2). The
28
      FMLA further provides that “[a]n employer is prohibited from discriminating against


      _____________________________________________________________________________________________
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 1
      employees or prospective employees who have used FMLA leave.” 29 C.F.R. §
 2
      825.220(c). “[E]mployers cannot use the taking of FMLA leave as a negative factor in
 3
      employment actions. . . .” Id.
 4
            40.    SYSCO discriminated against KATRENICH by constructively discharging
 5
      her when she exercised her right to take FMLA leave.
 6
            41.    SYSCO discriminated against KATRENICH by refusing to reinstate her
 7
      because she exercised her right to take FMLA leave.
 8
            42.    SYSCO’s unlawful actions were intentional, willful, malicious, and/or done
 9
      with reckless disregard to KATRENICH’s rights.
10
            43.    As a direct and proximate result of SYSCO’s unlawful actions,
11
      KATRENICH lost her wages, salary, employment benefits, and other compensation, and
12
      suffered other monetary losses, in an amount to be proven at trial.
13
            44.    As a result of SYSCO’s willful violations of the FMLA, which were not
14
      done in good faith, KATRENICH is entitled to liquidated damages under 29 U.S.C. §
15
      2617(a)(1)(A)(iii), in an amount to be proven at trial.
16
                                    THIRD CAUSE OF ACTION
17
           FAILURE TO PREVENT DISCRIMINATION (GOVERNMENT CODE,
18
                                         SECTION 12940(k))
19
                          (AGAINST ALL CORPORATE DEFENDANTS)
20
            45.    KATRENICH incorporates by reference paragraphs 1 through 44, as though
21
      fully set forth herein.
22
            46.    California Government Code section 12940(k) requires employers to take all
23
      reasonable steps to prevent discrimination from occurring.
24
            47.    SYSCO knew or should have known that KATRENICH needed leave to
25
      care for her family, and to address her own serious health condition. SYSCO failed to
26
      inform KATRENICH of her rights and obligations under CFRA. SYSCO refused to
27
      grant KATRENICH’s request for leave for a CFRA-qualifying reason. SYSCO
28
      discriminated against KATRENICH by constructively terminating her after she had taken


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                                                    12
                                        COMPLAINT FOR DAMAGES
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 1
      leave for a CFRA-qualifying reason. SYSCO discriminated against KATRENICH by
 2
      refusing to reinstate KATRENICH following her leave for a CFRA-qualifying reason.
 3
            48.    SYSCO’s actions constitute a failure to take all reasonable steps to prevent
 4
      discrimination from occurring in violation of California Government Code section
 5
      12940(k).
 6
            49.    As a proximate result of SYSCO’s unlawful actions, KATRENICH suffered
 7
      the loss of wages, salary, employment benefits, and additional damages in an amount to
 8
      be proven at trial.
 9
            50.    As a further proximate result of SYSCO’s unlawful actions, KATRENICH
10
      has suffered humiliation, mental anguish, and emotional and physical distress in an
11
      amount to be proven at trial.
12
            51.    SYSCO’s unlawful actions were intentional, willful, malicious and/or done
13
      with reckless disregard to KATRENICH’s rights.
14
                                  FOURTH CAUSE OF ACTION
15
        FAILURE TO ENGAGE IN THE INTERACTIVE PROCESS (GOVERNMENT
16
                                 CODE, SECTION 12940 ET SEQ.)
17
                                 (AGAINST ALL DEFENDANTS)
18
            52.    KATRENICH incorporates by reference paragraphs 1 through 51, as though
19
      fully set forth herein.
20
            53.    DEFENDANTS were required under California Government Code, section
21
      12940 et seq., among other California statutes, to engage in an interactive dialogue with
22
      all qualified, disabled employees, designed to find ways to reasonably accommodate said
23
      employees' disabilities in the workplace (the “interactive process”).
24
            54.    KATRENICH was an employee with a qualified disability. DEFENDANTS
25
      were, therefore, required to engage in the interactive process with KATRENICH.
26
            55.    DEFENDANTS failed to engage reasonably in the interactive process with
27
      KATRENICH.
28
      ///


      _____________________________________________________________________________________________
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 1
            56.    As a direct, proximate and foreseeable result of DEFENDANTS' acts and
 2
      failures to act as alleged herein, KATRENICH has suffered and continues to suffer
 3
      substantial losses in earnings and employment benefits, injury to her career and
 4
      reputation, and extreme and enduring emotional distress including but not limited to
 5
      humiliation, shock, embarrassment, anxiety, and discomfort, all to her damage in an
 6
      amount to be determined according to proof at trial.
 7
            57.    DEFENDANTS committed the acts herein alleged despicably, maliciously,
 8
      fraudulently, and oppressively, with the wrongful intention of injuring KATRENICH,
 9
      and acted with an improper and evil motive amounting to malice and in conscious
10
      disregard of KATRENICH's rights. Because the acts taken toward KATRENICH were
11
      carried out by managerial employees acting in a deliberate, cold, callous, despicable, and
12
      intentional manner in order to injure and damage KATRENICH, she is entitled to
13
      punitive damages from DEFENDANTS.
14
                                    FIFTH CAUSE OF ACTION
15
            VIOLATION OF THE CALIFORNIA FAMILY RIGHTS ACT (CFRA)
16
                                 (AGAINST ALL DEFENDANTS)
17
            58.    KATRENICH incorporates by reference paragraphs 1 through 57, as though
18
      fully set forth herein.
19
            59.    At all times herein mentioned SYSCO was an employer covered by CFRA.
20
            60.    At all times herein mentioned KATRENICH was an employee eligible to
21
      take CFRA leave and, in fact, took such leave for a qualifying purpose or purposes.
22
            61.    The taking of CFRA leave by KATRENICH was a negative factor in certain
23
      adverse employment action that was taken by DEFENDANTS against her which
24
      included, without limitation, the demotion from senior marketing associate to marketing
25
      associate with a loss of her previously established accounts, the direction to have no
26
      contact whatsoever with her prior accounts, the reduction in compensation, and the other
27
      adverse actions taken by DEFENDANTS that created an intolerable working
28
      ///


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                                                    14
                                        COMPLAINT FOR DAMAGES
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 1
      environment for KATRENICH such as to cause the constructive termination of her
 2
      employment.
 3
             62.       As a direct, proximate, and legal result of DEFENDANTS’ actions, as
 4
      hereinabove alleged, KATRENICH has suffered loss of wages, benefits, and additional
 5
      amounts of money she would have received if she had not been demoted by
 6
      DEFENDANTS and had not been constructively terminated by SYSCO. As a result
 7
      thereof, KATRENICH has suffered damages in an amount according to proof at trial.
 8
             63.       As a further direct, proximate, and legal result of DEFENDANTS’ actions
 9
      against KATRENICH as hereinabove alleged KATRENICH has suffered the loss of
10
      future employment related benefits and opportunities such as promotion, job satisfaction,
11
      job security, and other job related benefits in an amount to be proven at trial.
12
             64.       As a further direct, proximate, and legal result of DEFENDANTS’ actions
13
      against KATRENICH as hereinabove alleged, KATRENICH has been harmed in that she
14
      has suffered humiliation, mental anguish, emotional distress, harm to her professional
15
      reputation, and has been injured in mind and body. As a result of such harm,
16
      KATRENICH has suffered such damages in an amount according to proof at trial.
17
             65.       As a further direct, proximate, and legal result of DEFENDANTS’ actions
18
      against KATRENICH as hereinabove alleged, KATRENICH has suffered other damages
19
      and losses not currently ascertained, the nature and amount of which will be proven at the
20
      time of trial.
21
                                      SIXTH CAUSE OF ACTION
22
                                        SEX DISCRIMINATION
23
                            (AGAINST ALL CORPORATE DEFENDANTS)
24
             66.       KATRENICH incorporates by reference paragraphs 1 through 65, as though
25
      fully set forth herein.
26
             67.       At all times herein mentioned, Government Code, Section 12940 et seq., was
27
      in full force and effect, and was binding on SYSCO. This section requires employers to
28
      refrain from discriminating against any employee on the basis of sex, among other things.


      _____________________________________________________________________________________________
                                                    15
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 1
      Within the time provided by law, KATRENICH filed a complaint with the California
 2
      Department of Fair Employment and Housing, in full compliance with these sections, and
 3
      received a right-to-sue letter.
 4
            68.    During the course of her employment, KATRENICH’s direct supervisor,
 5
      RODRIGUEZ, made various discriminatory comments on the basis of sex, including, but
 6
      not limited to, the need for female marketing associates to garner business accounts
 7
      through the manner in which they dressed. Plaintiff is informed and believes and based
 8
      thereon herein alleges that RODRIGUEZ was terminated from prior employment as a
 9
      result of his sexual harassment of a female or females. SYSCO engaged in a designed
10
      practice of encouraging female employees to dress provocatively to obtain additional
11
      business contracts. Female employees that did not dress provocatively were
12
      discriminated against by SYSCO through the “pulling” of accounts and assigning them to
13
      those women who adhered to the SYSCO model of provocatively-dressed female
14
      marketing associates. SYSCO also engaged in a designed practice of favoring male
15
      marketing associates over female marketing associates when reallocating contracts
16
      managed by former employees that were no longer employed by SYSCO. The more
17
      lucrative contracts were distributed to the male marketing associates, while the less
18
      lucrative contracts (and sometimes stale contracts) were distributed to the female
19
      marketing associates. In addition, KATRENICH is informed and believes and based
20
      thereon herein alleges that SYSCO and its agents and employees took the adverse
21
      employment actions against KATRENICH, as hereinabove alleged, based in material part
22
      on her sexual status as a female employee, and then contrived pretextual performance
23
      problems which were designed to conceal SYSCO’s practice of discriminating against
24
      her on the basis of her sex. Such discrimination is in violation of Government Code,
25
      Section 12940 et seq., and has resulted in damage and injury to KATRENICH.
26
            69.    As a direct, proximate, and legal result of SYSCO’s willful, knowing, and
27
      intentional discrimination against KATRENICH, KATRENICH has sustained and
28
      ///


      _____________________________________________________________________________________________
                                                    16
                                        COMPLAINT FOR DAMAGES
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 1
      continues to sustain substantial losses in earnings and other employment benefits, all of
 2
      which will be proven at the time of trial.
 3
            70.    As a direct, proximate, and legal result of DEFENDANTS’ willful,
 4
      knowing, and intentional discrimination against KATRENICH, she has suffered and
 5
      continues to suffer humiliation, emotional distress, and mental and physical pain and
 6
      anguish, all to her damage in a sum according to proof.
 7
            71.    As a further direct, proximate, and legal result of DEFENDANTS’ willful,
 8
      knowing, and intentional discrimination against KATRENICH, she has sustained and
 9
      suffered further damages and losses, the nature and amount of which are not currently
10
      ascertained, but which will be proven at the time of trial.
11
            72.    The conduct of DEFENDANTS, and each of them, as herein alleged, was
12
      undertaken with malice, oppression, and fraud as defined in Section 3294 of the
13
      California Civil Code, and constituted willful, knowing, and intentional discrimination
14
      against KATRENICH by DEFENDANTS. Such conduct was intended to annoy, harass
15
      and injure KATRENICH, and other similarly situated female employees, and was
16
      despicable, and carried on by DEFENDANTS with willful and conscious disregard for
17
      the rights of KATRENICH, thereby subjecting KATRENICH to cruel and unjust
18
      hardship. KATRENICH is informed and believes and thereon alleges that the corporate
19
      defendant, SYSCO, is guilty of malice, oppression and fraud as set forth in Section 3294
20
      of the California Civil Code. KATRENICH is further informed and believes, and thereon
21
      alleges, that the acts of malice, oppression and fraud on the part of DEFENDANTS, and
22
      each of them, as alleged herein, were committed by an officer, director or managing
23
      agent of said corporate defendant, and/or said wrongful acts were committed with the
24
      consent, approval and/or ratification of an officer, director and/or managing agent of the
25
      defendant corporation. Accordingly, KATRENICH is entitled to recover punitive
26
      damages from DEFENDANTS, and each of them, pursuant to Section 3294 of the
27
      California Civil Code, in an amount to be shown according to proof at trial.
28
      ///


      _____________________________________________________________________________________________
                                                    17
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 1
            73.    KATRENICH has incurred and continues to incur legal expenses and
 2
      attorneys fees in connection with this action. KATRENICH is presently unaware of the
 3
      precise amount of these fees and expenses, which will be proven at the time of trial.
 4
                                  SEVENTH CAUSE OF ACTION
 5
                                      AGE DISCRIMINATION
 6
                          (AGAINST ALL CORPORATE DEFENDANTS)
 7
            74.    KATRENICH incorporates by reference paragraphs 1 through 73, as though
 8
      fully set forth herein.
 9
            75.    At all times herein mentioned, Government Code, Section 12940 et seq., was
10
      in full force and effect, and was binding on DEFENDANTS. These sections require
11
      employers to refrain from discriminating against any employee on the basis of age,
12
      among other things. Within the time provided by law, KATRENICH filed a complaint
13
      with the California Department of Fair Employment and Housing, in full compliance
14
      with these sections, and received a right-to-sue letter.
15
            76.    KATRENICH is informed and believes and based thereon herein alleges that
16
      SYSCO and its agents and employees took the adverse employment actions against
17
      KATRENICH, as hereinabove alleged, based in material part due to her age, which was,
18
      at the relevant times, 45-46 years of age and then contrived pretextual performance
19
      problems which were designed to conceal DEFENDANTS’ practice of discriminating
20
      against KATRENICH on the basis of her age. KATRENICH is informed and believes
21
      and based thereon herein alleges that SYSCO either terminated or caused the termination
22
      of other similarly situated employees within its Riverside division, and perhaps nation-
23
      wide, due to such employees being over 40 years of age. Such discrimination is in
24
      violation of Government Code, Section 12940 et seq., and has resulted in damage and
25
      injury to KATRENICH.
26
            77.    As a direct, proximate, and legal result of DEFENDANTS’ willful,
27
      knowing, and intentional discrimination against her, KATRENICH has sustained and
28
      ///


      _____________________________________________________________________________________________
                                                    18
                                        COMPLAINT FOR DAMAGES
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 1
      continues to sustain substantial losses in earnings and other employment benefits, all of
 2
      which will be proven at the time of trial.
 3
            78.    As a direct, proximate, and legal result of DEFENDANTS’ willful,
 4
      knowing, and intentional discrimination against KATRENICH, she has suffered and
 5
      continues to suffer humiliation, emotional distress, and mental and physical pain and
 6
      anguish, all to her damage in a sum according to proof.
 7
            79.    As a further direct, proximate, and legal result of DEFENDANTS’ willful,
 8
      knowing, and intentional discrimination against KATRENICH, she has sustained and
 9
      suffered further damages and losses, the nature and amount of which are not current
10
      ascertained, but which will be proven at the time of trial.
11
            80.    The conduct of DEFENDANTS, and each of them, as herein alleged, was
12
      done with malice, oppression, and fraud as defined in Section 3294 of the California Civil
13
      Code, and constituted willful, knowing and intentional discrimination against
14
      KATRENICH by DEFENDANTS. Such conduct was intended to annoy, harass and
15
      injure KATRENICH, and was despicable, and carried on by DEFENDANTS with willful
16
      and conscious disregard for the rights of KATRENICH, thereby subjecting
17
      KATRENICH to cruel and unjust hardship. KATRENICH is informed and believes and
18
      thereon alleges that the corporate defendant, SYSCO, is guilty of malice, oppression, and
19
      fraud as set forth in Section 3294 of the California Civil Code. KATRENICH is further
20
      informed and believes, and thereon alleges, that the acts of malice, oppression, and fraud
21
      on the part of DEFENDANTS, and each of them, as alleged herein, were committed by
22
      an officer, director, or managing agent of said corporate defendant, and/or said wrongful
23
      acts were committed with the consent, approval and/or ratification of an officer, director
24
      and/or managing agent of the corporate defendant. Accordingly, KATRENICH is
25
      entitled to recover punitive damages from all corporate defendants, and each of them,
26
      pursuant to Section 3294 of the California Civil Code in an amount to be shown
27
      according to proof at trial.
28
      ///


      _____________________________________________________________________________________________
                                                    19
                                        COMPLAINT FOR DAMAGES
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 1
            81.    KATRENICH has incurred, and continues to incur legal expenses and
 2
      attorneys fees in connection with this action. KATRENICH is presently unaware of the
 3
      precise amount of these fees and expenses, which will be proven at the time of trial.
 4
                                   EIGHTH CAUSE OF ACTION
 5
            WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY,
 6
       RETALIATION IN VIOLATION OF THE CFRA, SEX DISCRIMINATION AND
 7
                                      AGE DISCRIMINATION
 8
                                 (AGAINST ALL DEFENDANTS)
 9
            82.    KATRENICH incorporates by reference paragraphs 1 through 81, as though
10
      fully set forth herein.
11
            83.    At all times herein mentioned, California Constitution Article 1, Section 8,
12
      was in full force and effect and was binding on DEFENDANTS. This section prohibits
13
      discrimination against any person on the basis of sex. In addition, Government Code,
14
      Section 12940 (a) prohibits an employer from discriminating based on sex or age.
15
      Further, pursuant to Government Code, Sec. 12945.2, subd. (1), the CFRA, an employee
16
      who takes family leave under the Act is guaranteed that the taking of such leave will not
17
      result in a loss of job security or other adverse employment actions. These laws represent
18
      the public policy of the State of California, and the discrimination and retaliation of
19
      SYSCO and the other defendants has resulted in damages and injury to KATRENICH as
20
      alleged herein.
21
            84.    As a direct, proximate, and legal result of DEFENDANTS’ willful,
22
      knowing, and intentional discrimination against KATRENICH, she has sustained and
23
      continues to sustain substantial losses in earnings and other employment benefits.
24
            85.    As a direct, proximate, and legal result of DEFENDANTS’ willful,
25
      knowing, and intentional discrimination against KATRENICH, she has suffered and
26
      continues to suffer humiliation, emotional distress, and mental and physical pain and
27
      anguish, all to her damage in a sum according to proof.
28
      ///


      _____________________________________________________________________________________________
                                                    20
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 1
              86.    The conduct of DEFENDANTS, and each of them, as herein alleged, was
 2
      done with malice, oppression, and fraud as defined in Section 3294 of the California Civil
 3
      Code, and constituted willful, knowing, and intentional discrimination against
 4
      KATRENICH by DEFENDANTS. Such conduct was intended to annoy, harass, and
 5
      injure KATRENICH, and was despicable, and carried on by DEFENDANTS with willful
 6
      and conscious disregard for the rights of KATRENICH, thereby subjecting
 7
      KATRENICH to cruel and unjust hardship. KATRENICH is informed and believes and
 8
      thereon alleges that the corporate defendant, SYSCO, is guilty of malice, oppression, and
 9
      fraud as set forth in Section 3294 of the California Civil Code. KATRENICH is further
10
      informed and believes, and thereon alleges, that the acts of malice, oppression, and fraud
11
      on the part of DEFENDANTS, and each of them, as alleged herein, were committed by
12
      an officer, director or managing agent of said corporate defendant and/or said wrongful
13
      acts were committed with the consent, approval and/or ratification of an officer, director
14
      and/or managing agent of the corporate defendant. Accordingly, KATRENICH is
15
      entitled to recover punitive damages from DEFENDANTS, and each of them, pursuant to
16
      Section 3294 of the California Civil Code, in an amount to be shown according to proof
17
      at trial.
18
              87.    KATRENICH has incurred, and continues to incur, legal expenses and
19
      attorneys fees in connection with this action. KATRENICH is presently unaware of the
20
      precise amount of these fees and expenses, which will be proven at the time of trial.
21
                                    NINTH CAUSE OF ACTION
22
                    VIOLATION OF GOVERNMENT CODE, SECTION 12940(i)
23
                                  (AGAINST ALL DEFENDANTS)
24
              88.    KATRENICH incorporates by reference paragraphs 1 through 87, as though
25
      fully set forth herein.
26
              89.    At all times herein mentioned, Government Code Section 12940(i) was in
27
      full force and effect, and was binding on DEFENDANTS. This subsection requires
28
      DEFENDANTS to take all reasonable steps necessary to prevent discrimination and


      _____________________________________________________________________________________________
                                                    21
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 1
      harassment from occurring. As alleged above, DEFENDANTS violated this subsection
 2
      by failing to take all reasonable steps necessary to prevent discrimination and harassment
 3
      from occurring. Within the time provided by law, KATRENICH filed a complaint with
 4
      the California Department of Fair Employment and Housing and received a right-to-sue
 5
      letter.
 6
                90.   As a direct, proximate, and legal result of DEFENDANTS’ conduct,
 7
      KATRENICH has suffered and continues to suffer humiliation, emotional distress, and
 8
      mental and physical pain and anguish, all to her damage, in a sum according to proof.
 9
                91.   The conduct of DEFENDANTS, and each of them, as herein alleged, was
10
      done with malice, oppression, and fraud as defined in Section 3294 of the California Civil
11
      Code, and constituted willful, knowing, and intentional discrimination against
12
      KATRENICH by DEFENDANTS. Such conduct was intended to annoy, harass, and
13
      injure KATRENICH, and was despicable and carried on by DEFENDANTS with willful
14
      and conscious disregard for the rights of KATRENICH, thereby subjecting
15
      KATRENICH to cruel and unjust hardship. KATRENICH is informed and believes and
16
      thereon alleges that the corporate defendant, SYSCO, is guilty of malice, oppression, and
17
      fraud as set forth in Section 3294 of the California Civil Code. KATRENICH is further
18
      informed and believes, and thereon alleges, that the acts of malice, oppression, and fraud
19
      on the part of DEFENDANTS, and each of them, as alleged herein, were committed by
20
      an officer, director or managing agent of said corporate defendants, and/or said wrongful
21
      acts were committed with the consent, approval and/or ratification of an officer, director
22
      and/or managing agent of the defendant corporation. Accordingly, KATRENICH is
23
      entitled to recover punitive damages from DEFENDANTS, and each of them, pursuant to
24
      Section 3294 of the California Civil Code in an amount to be shown according to proof at
25
      trial.
26
                92.   KATRENICH has incurred, and continues to incur, legal expenses and
27
      attorneys fees in connection with this action. KATRENICH is presently unaware of the
28
      ///


      _____________________________________________________________________________________________
                                                    22
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 1
      precise amount of these fees and expenses, and the same will be proven at the time of
 2
      trial.
 3
                                   TENTH CAUSE OF ACTION
 4
                     NEGLIGENT INFLICATION OF EMOTIONAL DISTRESS
 5
                                  (AGAINST ALL DEFENDANTS)
 6
               93.   KATRENICH incorporates by reference paragraphs 1 through 92, as though
 7
      fully set forth herein.
 8
               94.   At all times herein mentioned DEFENDANTS had a duty not to discriminate
 9
      against or harass KATRENICH and other similarly situated employees based on their sex
10
      as females, their ages being in excess of 40 years of age, or for having taken leave
11
      pursuant to the CFRA or FMLA. DEFENDANTS breached those duties as hereinabove
12
      alleged as to KATRENICH, well knowing that said breach would cause KATRENICH
13
      severe emotional distress in both being exposed to discriminatory actions (sex and age),
14
      and retaliatory action (adverse employment actions based on exercise of rights under the
15
      CRFA and FMLA), and in causing KATRENICH to be constructively discharged from
16
      her employment with SYSCO.
17
               95.   As a direct, proximate, and legal result of DEFENDANTS’ negligence,
18
      KATRENICH has suffered and continues to suffer severe emotional distress, humiliation,
19
      and mental anguish and has and will incur medical, psychiatric, and other expenses for
20
      the examination, treatment, and care of her emotional injuries, all to KATRENICH’s
21
      damage in an amount that will be established at the time of trial, together with pre-
22
      judgment interest pursuant to California Civil Code, Sections 3288 and 3291, and/or any
23
      other applicable provision for pre-judgment interest.
24
                                 ELEVENTH CAUSE OF ACTION
25
                     INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
26
                                  (AGAINST ALL DEFENDANTS)
27
               96.   KATRENICH incorporates by reference paragraphs 1 through 95, as though
28
      fully set forth herein.


      _____________________________________________________________________________________________
                                                    23
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 1
            97.    In doing the things as hereinabove alleged, DEFENDANTS acted with an
 2
      intent to cause KATRENICH severe emotional distress and said conduct was outrageous,
 3
      beyond the norms of a decent society, and did, in fact, cause KATRENICH severe
 4
      emotional distress in the form of stress, anxiety, sleeplessness, and other symptoms.
 5
            98.    As a direct, proximate, and legal result of DEFENDANTS’ intentional
 6
      conduct, KATRENICH has suffered and continues to suffer severe emotional distress,
 7
      humiliation, and mental anguish, and has and will incur medical, psychiatric, and other
 8
      expenses for the examination, treatment, and care of her emotional injuries, all to
 9
      KATRENICH’s damage, in an amount that will be established at the time of trial,
10
      together with pre-judgment interest pursuant to California Civil Code, Sections 3288 and
11
      3291, and/or any other applicable provision for pre-judgment interest.
12
                                   TWELFTH CAUSE OF ACTION
13
                                FAILURE TO PAY OVERTIME WAGES
14
                                   (AGAINST ALL DEFENDANTS)
15
            99.    KATRENICH incorporates by reference paragraphs 1 through 98, as though
16
      fully set forth herein.
17
            100. SYSCO improperly classified KATRENICH as an exempt employee.
18
      SYSCO should have classified KATRENICH as a “non-exempt” employee. Although
19
      KATRENICH’s position as a marketing associate required her at times to meet with
20
      clients outside of the office, KATRENICH did not spend at least 50% of her working
21
      time away from her office actually engaged in making sales or obtaining orders or
22
      contracts. KATRENICH spent more than 50% of her working time engaged in providing
23
      other service to customers or working from her office, or a combination thereof, as
24
      opposed to working outside of her office actually engaged in making sales, obtaining
25
      orders, or obtaining contracts.
26
            101. On a regular basis, KATRENICH worked in excess of eight hours in a day
27
      and/or 40 hours in a week.
28
      ///


      _____________________________________________________________________________________________
                                                    24
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 1
            102. During and throughout the course of KATRENICH’s employment she was
 2
      also denied regular meal and rest periods required by law. SYSCO never tracked meal
 3
      periods for KATRENICH, nor did it keep and maintain accurate records of such meal and
 4
      rest periods being provided. SYSCO discouraged meal or rest periods, and did not
 5
      provide meal or rest periods for KATRENICH, as SYSCO improperly classified
 6
      KATRENICH as an exempt employee.
 7
            103. Pursuant to Section 1194 of the California Labor Code, KATRENICH may
 8
      bring a civil action for overtime wages directly against the employer in her own name
 9
      without first filing a claim with the Division of Labor Standards Enforcement.
10
            104. Pursuant to Sections 510, 558, 1194 and 1197 of the California Labor Code,
11
      among other applicable sections, it is unlawful to employ persons for longer than the
12
      hours set by the Industrial Welfare Commission (“IWC”), or under conditions prohibited
13
      by the applicable Industrial Commission Wage Orders.
14
            105. During and throughout the course of KATRENICH’s employment,
15
      KATRENICH was compelled to work in excess of eight (8) hours per workday, in excess
16
      of (40) hours per workweek, and on the seventh day of the workweek.
17
            106. On each and every occasion in which KATRENICH was compelled to work
18
      in excess of eight (8) hours per workday, in excess of forty (40) hours per workweek, and
19
      for the first eight (8) hours on the seventh day of the workweek, SYSCO failed and
20
      refused to compensate KATRENICH at the rate of no less than one and one-half times
21
      the regular rate of pay.
22
            107. During and throughout KATRENICH’s employment, KATRENICH was
23
      compelled to work in excess of twelve (12) hours per workday, and in excess of eight (8)
24
      hours on the seventh day of the workweek.
25
            108. On each and every occasion in which KATRENICH was compelled to work
26
      in excess of twelve (12) hours per workday, and in excess of eight (8) hours on the
27
      seventh day of the workweek, SYSCO failed and refused to compensate KATRENICH at
28
      the rate of no less than twice the regular rate of pay.


      _____________________________________________________________________________________________
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 1
            109. Under the provisions of California’s Labor Code and the applicable Wage
 2
      Orders issued by the Industrial Welfare Commission of California, KATRENICH should
 3
      have received overtime wages in a sum according to proof for the hours worked.
 4
            110. KATRENICH requests recovery of overtime compensation according to
 5
      proof, and penalty wages, interest, attorneys fees and costs pursuant to Sections 203,
 6
      218.5, 510, 558, 1194, and 1197 of the California Labor Code, the relevant California
 7
      Industrial Welfare Commission Wage Orders, or any other statutory, regulatory, or
 8
      common law authority, as well as the assessment of any other statutory penalties against
 9
      SYSCO, in a sum as provided by the California Labor Code and other applicable
10
      California statutes and regulations.
11
            111. The pattern, practice, and uniform administration of corporate policy
12
      regarding illegal employee compensation, as described herein, is unlawful, and
13
      KATRENICH is entitled to recover in a civil action for the unpaid balance of the full
14
      amount of the overtime premiums owing, including interest thereon, penalties, reasonable
15
      attorneys fees and costs of suit according to the mandate of the California Labor Code.
16
                               THIRTEENTH CAUSE OF ACTION
17
         VIOLATION OF CALIFORNIA LABOR CODE, SECTIONS 201 AND 202 –
18
                                FAILURE TO PAY FINAL WAGES
19
                                  (AGAINST ALL DEFENDANTS)
20
            112. KATRENICH incorporates by reference paragraphs 1 through 111, as
21
      though fully set forth herein.
22
            113. California Labor Code Sections 201 and 202 provide the statutory
23
      requirements for when an employee’s final pay check must be furnished by the employer.
24
            114. SYSCO failed and refused, and continues to fail and refuse, to provide
25
      KATRENICH with her final wages earned while employed by SYSCO, including but not
26
      limited to overtime compensation and meal and rest period premiums earned while
27
      employed.
28
      ///


      _____________________________________________________________________________________________
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 1
            115. Accordingly, SYSCO has willfully failed to pay KATRENICH all wages
 2
      due in accordance with California Labor Code, Sections 201 and 202.
 3
            116. As a result of such illegal conduct, KATRENICH has suffered damages in
 4
      an amount to be proven at trial.
 5
            117. Pursuant to California Labor Code, Section 218.5, KATRENICH requests
 6
      that the court award reasonable attorneys fees and costs incurred in this action, in
 7
      addition to such other relief as may be warranted.
 8
            118. SYSCO’s failure to pay wages, as alleged above, was willful in that
 9
      KATRENICH earned all wages that are currently owed, and the failure to pay said wages
10
      was without justification or excuse. KATRENICH therefore is entitled to waiting time
11
      penalties pursuant to California Labor Code, Section 203.
12
                               FOURTEENTH CAUSE OF ACTION
13
                            FAILURE TO PROVIDE MEAL PERIODS
14
                                  (AGAINST ALL DEFENDANTS)
15
            119. KATRENICH incorporates by reference paragraphs 1 through 118, as
16
      though fully set forth herein.
17
            120. At all relevant times herein mentioned KATRENICH was a non-exempt
18
      employee, and subject to the “meal period” provisions of the Industrial Welfare
19
      Commission. No valid legal or applicable exception to the meal period requirement
20
      existed to allow SYSCO to avoid providing KATRENICH with regular meal period(s) as
21
      required by the Labor Code, wage orders and/or regulations.
22
            121. Throughout the entirety of KATRENICH’s employment, SYSCO failed to
23
      allow KATRENICH to take thirty (30) minute meal periods for every five (5) hours
24
      worked. SYSCO denied such meal periods and SYSCO’s agents and management were
25
      well aware that rest/meal periods were being denied to KATRENICH. KATRENICH
26
      regularly worked in excess of five (5) and ten (10) hours a day without being afforded at
27
      least half-hour meal periods in which she was relieved of all duties as required by Labor
28
      ///


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                                         COMPLAINT FOR DAMAGES
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 1
      Code Sections 226.7 and 512, and the applicable Industrial Welfare Commission Wage
 2
      Order.
 3
            122. KATRENICH requests relief pursuant to California Labor Code, Section
 4
      226.7(b), which provides for one hour of additional pay at the employee’s regular rate of
 5
      pay for each work day the rest period(s) is not provided, in addition to such other and
 6
      further remedies, including attorneys fees and interest, as provided by code.
 7
                                 FIFTEENTH CAUSE OF ACTION
 8
                            FAILURE TO PROVIDE REST PERIODS
 9
                                  (AGAINST ALL DEFENDANTS)
10
            123. KATRENICH incorporates by reference paragraphs 1 through 122, as
11
      though fully set forth herein.
12
            124. At all times herein mentioned, KATRENICH was a non-exempt employee
13
      and subject to the “rest period” provisions of the Industrial Welfare Commission. No
14
      valid legal or applicable exception to the rest period requirement existed to allow SYSCO
15
      to avoid providing KATRENICH with regular rest period(s) as required by the Labor
16
      Code, wage orders, and/or regulations.
17
            125. Throughout the entirety of KATRENICH’s employment, SYSCO failed to
18
      allow KATRENICH to take rest periods during every four-hour period worked. The law
19
      requires that non-exempt employees, such as those in KATRENICH’s position, be
20
      allowed a 10-minute break during every four-hour work period. The prescribed break
21
      should be allowed, as close to the middle of the four-hour period as possible, in
22
      accordance with the applicable Industrial Welfare Commission Wage Order. Thus,
23
      KATRENICH should have been afforded a 10-minute break at the two-hour point of each
24
      four-hour work period. SYSCO denied such breaks and SYSCO was well aware that rest
25
      periods were being denied to KATRENICH. Thus, wages are due to KATRENICH to
26
      compensate for the “rest periods” which were denied under applicable laws, rules,
27
      requirements, and regulations.
28
      ///


      _____________________________________________________________________________________________
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                                        COMPLAINT FOR DAMAGES
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 1
            126. KATRENICH requests relief pursuant to California Labor Code, Section
 2
      226.7(b), which provides for one hour of additional pay at the employee’s regular rate of
 3
      pay for each work day the rest period(s) is not provided, in addition to such other and
 4
      further remedies, including attorneys fees and interest, as provided by code.
 5
                                SIXTEENTH CAUSE OF ACTION
 6
         FAILURE TO PROVIDE PROPERLY ITEMIZED WAGE STATEMENTS IN
 7
                      VIOLATION OF THE CALIFORNIA LABOR CODE
 8
                                  (AGAINST ALL DEFENDANTS)
 9
            127. KATRENICH incorporates by reference paragraphs 1 through 126, as
10
      though fully set forth herein.
11
            128. Pursuant to California Labor Code, Section 226, among other authority, an
12
      employer is required to furnish each of his or her employees, either as a detachable part
13
      of the check, draft, or voucher paying the employee’s wages, or separately when wages
14
      are paid by personal check or cash, an accurate itemized statement in writing showing (1)
15
      gross wages earned, (2) total hours worked by the employee, (3) the number of piece-rate
16
      units earned and any applicable piece rate if the employee is paid on a piece-rate basis,
17
      (4) all deductions, provided that all deductions made on written orders of the employee
18
      may be aggregated and shown as one item, (5) net wages earned, (6) the inclusive dates
19
      of the period for which the employee is paid, (7) the name of the employee and his or her
20
      social security number, (8) the name and address of the legal entity that is the employer,
21
      and (9) all applicable hourly rates in effect during the pay period, and the corresponding
22
      number of hours worked at each hourly rate by the employee.
23
            129. In violation of said portion of the Labor Code, SYSCO has failed to provide
24
      properly itemized wage statements to KATRENICH.
25
            130. As a result of such violation, KATRENICH requests the maximum amount
26
      of penalties and other relief allowed by law.
27
      ///
28
      ///


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                                                    29
                                        COMPLAINT FOR DAMAGES
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 1
                              SEVENTEENTH CAUSE OF ACTION
 2
                 FAILURE TO PAY WAGES WHEN DUE IN VIOLATION OF
 3
                                THE CALIFORNIA LABOR CODE
 4
                                  (AGAINST ALL DEFENDANTS)
 5
            131. KATRENICH incorporates by reference paragraphs 1 through 130, as
 6
      though fully set forth herein.
 7
            132. Pursuant to California Labor Code § 204, among other authority, all wages,
 8
      other than those mentioned in Section 201, 202, 204.1, or 204.2, earned by any person in
 9
      any employment are due and payable twice during each calendar month, on days
10
      designated in advance by the employer as the regular paydays. Labor performed between
11
      the 1st and 15th days, inclusive, of any calendar month shall be paid for between the 16th
12
      and the 26th day of the month during which the labor was performed, and labor
13
      performed between the 16th and the last day, inclusive of any calendar month, shall be
14
      paid for between the 1st and the 10th day of the following month. Moreover, all wages
15
      earned for labor in excess of the normal work period shall be paid no later than the
16
      payday for the next regular payroll period.
17
            133. In violation of said sections of the Labor Code, SYSCO has failed to pay
18
      KATRENICH the full amount of wages due during the pay periods in which the wages
19
      were earned.
20
            134. As a result of such violation, KATRENICH requests the maximum amount
21
      of penalties and other relief allowed by law.
22
                               EIGHTEENTH CAUSE OF ACTION
23
             UNLAWFUL AND UNFAIR BUSINESS ACTS AND PRACTICES IN
24
           VIOLATION OF CALIFORNIA BUSINESS AND PROFESSIONS CODE,
25
                                       SECTION 17200 ET SEQ.
26
                                  (AGAINST ALL DEFENDANTS)
27
            135. KATRENICH incorporates by reference paragraphs 1 through 134, as
28
      though fully set forth herein.


      _____________________________________________________________________________________________
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 1
            136. The acts, omissions, and practices of SYSCO as alleged herein, constituted
 2
      unlawful and unfair business acts and practices within the meaning of California Business
 3
      and Professions Code, Section 17200 et seq.
 4
            137. SYSCO has engaged in “unlawful” business acts and practices by SYSCO’s
 5
      wrongful nonpayment of regular and overtime wages in violation of the statutes and
 6
      regulations referenced herein above.
 7
            138. KATRENICH reserves the right to allege other violations of law which
 8
      constitute unlawful acts or practices.
 9
            139. SYSCO has also engaged in “unfair” business acts or practices in that the
10
      harm caused by SYSCO’s wrongful nonpayment of regular and overtime wages
11
      outweighs the utility of such conduct, and such conduct offends public policy, is
12
      immoral, unscrupulous, unethical, deceitful, and offensive, causes substantial injury to
13
      KATRENICH, and provides SYSCO with an unfair competitive advantage over those
14
      employers that abide by the law, properly classify their employees, and pay regular and
15
      overtime compensation in accordance with the law.
16
            140. As a result of the conduct described above, SYSCO has been and will be
17
      unjustly enriched at the expense of KATRENICH. Specifically, SYSCO has been
18
      unjustly enriched by the retention of a significant sum of dollars in wages earned and
19
      wrongfully withheld from KATRENICH.
20
            141. The aforementioned unlawful or unfair business acts or practices conducted
21
      by SYSCO have been committed in the past and continue to this day. SYSCO has not
22
      provided full restitution and disgorgement of all ill-gotten monies either acquired or
23
      retained by SYSCO as a result thereof, thereby depriving KATRENICH the minimum
24
      working conditions and standards due under California Labor Laws and Industrial
25
      Welfare Commission Wage Orders.
26
      ///
27
      ///
28
      ///


      _____________________________________________________________________________________________
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                                        COMPLAINT FOR DAMAGES
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 1
            142. Pursuant to Section 17203 of the California Business and Professions Code,
 2
      KATRENICH seeks an order of the Court requiring SYSCO to disgorge all ill-gotten
 3
      gains and awarding KATRENICH full restitution of all monies wrongfully acquired by
 4
      SYSCO by means of such “unlawful” and “unfair” conduct, plus interest and attorneys
 5
      fees pursuant to, inter alia, Section 1021.5 of the California Code of Civil Procedure, so
 6
      as to restore any and all monies to KATRENICH and the general public which were
 7
      acquired and obtained by means of such “unlawful” and “unfair” conduct, and which ill-
 8
      gotten gains are still retained by SYSCO. KATRENICH additionally requests that such
 9
      funds be impounded by the Court or that an asset freeze or constructive trust be imposed
10
      upon such revenues and profits to avoid dissipation and/or fraudulent transfers or
11
      concealment of such monies by SYSCO. KATRENICH may be irreparably harmed
12
      and/or denied an effective and complete remedy if such an order is not granted.
13
                               NINETEENTH CAUSE OF ACTION
14
                        FAILURE TO PROVIDE DOCUMENTATION IN
15
                         VIOLATION OF LABOR CODE, SECTION 226
16
                                  (AGAINST ALL DEFENDANTS)
17
            143. KATRENICH incorporates by reference paragraphs 1 through 142, as
18
      though fully set forth herein.
19
            144. On August 11, 2015, KATRENICH caused to be mailed to SYSCO
20
      (certified mail, return receipt requested) a request for documentation pursuant to Labor
21
      Code Section 226. SYSCO acknowledged receipt of the request on August 14, 2015 and
22
      August 17, 2015. SYSCO failed to provide any documentation pursuant to Labor Code
23
      Section 226 within twenty-one days of acknowledging receipt of the request. SYSCO
24
      continues to refuse to provide any documentation pursuant to Labor Code Section 226.
25
      ///
26
      ///
27
      ///
28
      ///


      _____________________________________________________________________________________________
                                                    32
                                        COMPLAINT FOR DAMAGES
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 1
                                                     III.
 2
                                         JURY TRIAL DEMAND
 3
            KATRENICH demands a jury trial in this action.
 4
                                                     IV.
 5
                                         PRAYER FOR RELIEF
 6
            WHEREFORE, KATRENICH prays for judgment against DEFENDANTS, and each
 7
      of them, as follows:
 8
               1. For general and special damages, including damages for emotional distress, in
 9
      an amount to be proven at trial;
10
               2. For back pay and future pay including decreased earnings and decreased
11
      earnings capacity, in an amount to be proven at trial;
12
               3. For punitive damages in an amount appropriate to punish DEFENDANTS for
13
      their wrongful conduct and to set an example for others;
14
               4. For penalties, including, but not limited to, waiting time penalties;
15
               5. For premium wages;
16
               6. For reasonable attorneys fees and costs pursuant to Sections 203, 218.5, 510,
17
      558, 1194, 1197, and 2699 of the California Labor Code, the relevant California
18
      Industrial Welfare Commission Wage Orders, or any other statutory, regulatory, or
19
      common law authority;
20
               7.    For injunctive relief in the form of an order requiring SYSCO, and each of
21
      them, to disgorge all ill-gotten gains and awarding KATRENICH full restitution of all
22
      monies wrongfully acquired by SYSCO, and each of them, by means of such “unfair”
23
      and “unlawful” conduct, plus interest and attorneys fees pursuant to, inter alia, Section
24
      1021.5 of the California Code of Civil Procedure;
25
               8. For pre-judgment interest as authorized by law;
26
               9. For reasonable attorneys fees as authorized by law;
27
      ///
28
      ///


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 1
            10. For costs of suit incurred herein; and
 2
            11. For such other and further relief as the Court deems just and proper.
 3

 4
      DATED: October 20, 2015                 DONALD R. HOLBEN & ASSOCIATES, APC
 5
                                                    s/Andrew A. Rosenberry
 6
                                              By __________________________________
 7                                                Donald R. Holben, Esq.
                                                   William N. Pabarcus, Esq.
 8
                                                   Andrew A. Rosenberry, Esq.
 9                                                 Attorneys for Plaintiff,
10
                                                   RHONDA KATRENICH
11

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      _____________________________________________________________________________________________
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